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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): STIPULATION TO (1) WITHDRAW DEBTOR'S
COMBINED PLAN OF REORGANIZATION AND DISCLOSURE STATEMENT WITHOUT PREJUDICE AND (2)
WITHDRAW OFFICIAL COMMITTEE OF UNSECURED CREDITORS' MOTION FOR THE APPOINTMENT OF A
CHAPTER 11 TRUSTEE WITHOUT PREJUDICE will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 June 16, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                         Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date)                      , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.



                                                                                         Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                         Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 June 16, 2022                            Patricia Morris                                      /s/ Patricia Morris
 Date                                     Printed Name                                         Signature




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June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
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                                                 ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

     •    Donna C Bullock donnabullockcarrera@yahoo.com, donna.bullock@ymail.com
     •    Steven P Chang heidi@spclawoffice.com,
          schang@spclawoffice.com,assistant1@spclawoffice.com,attorney@spclawoffice.com;g9806@notif
          y.cincompass.com;changsr75251@notify.bestcase.com
     •    Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
     •    Heidi M Cheng heidi@slclawoffice.com,
          assistant1@spclawoffice.com;schang@spclawoffice.com;chenghr75251@notify.bestcase.com
     •    Susan Titus Collins scollins@counsel.lacounty.gov
     •    Jeffrey W Dulberg jdulberg@pszjlaw.com
     •    Oscar Estrada oestrada@ttc.lacounty.gov
     •    Richard Girgado rgirgado@counsel.lacounty.gov
     •    M. Jonathan Hayes jhayes@rhmfirm.com,
          roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;russ@rhm
          firm.com;david@rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario@rhmfirm.com
     •    Teddy M Kapur tkapur@pszjlaw.com, mdj@pszjlaw.com
     •    Alphamorlai Lamine Kebeh akebeh@danninggill.com
     •    Peter A Kim peter@pkimlaw.com, peterandrewkim@yahoo.com
     •    Christopher J Langley chris@slclawoffice.com,
          omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com
     •    Benjamin R Levinson ben@benlevinsonlaw.com, courtney@benlevinsonlaw.com
     •    Eric A Mitnick MitnickLaw@aol.com, mitnicklaw@gmail.com
     •    Giovanni Orantes go@gobklaw.com, gorantes@orantes-
          law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify
          .bestcase.com
     •    Donald W Reid don@donreidlaw.com, ecf@donreidlaw.com
     •    Matthew D. Resnik matt@rhmfirm.com,
          roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@r
          hmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;
          sloan@rhmfirm.com
     •    Peter J Ryan ryan@floresryan.com, schneider@floresryan.com
     •    Allan D Sarver ADS@asarverlaw.com
     •    Zev Shechtman zshechtman@DanningGill.com,
          danninggill@gmail.com;zshechtman@ecf.inforuptcy.com
     •    David Samuel Shevitz david@shevitzlawfirm.com,
          shevitzlawfirm@ecf.courtdrive.com;r48785@notify.bestcase.com;Jose@shevitzlawfirm.com
     •    John N Tedford jtedford@DanningGill.com,
          danninggill@gmail.com;jtedford@ecf.courtdrive.com
     •    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
     •    Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov




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